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IN THE UNITED STATES DISTRICT COURT FEB 0 2 202% /
NORTHERN DISTRICT OF ILLINOIS THOMAS G BRUT
EASTERN DIVISION CLERK, U.S. DISTRICT CouRT
Zafar Sheikh
Plaintiff Amended Complaint

vs. Case No. 1:24-cv-00658
Bashir Chaudry, Bushra Naseer, Junaid
Ahmad, Ali Chaudry, Rabia Chaudry, Hon. Judge Martha Pacold
Yakub Chaus dba Yakub Chaus & Co.,
Shamaila Rafiq, Amjad Chaudry

Syed Jahantab, South Chicago One Inc.
BCA Investments Inc., Congress & Pulaski
Real Estate LLC., Nusrat Chaudry, Qadir’s

LLC, Zahdan Ahmed & his designated entity

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VERIFIED COMPLAINT FOR FRAUDULENT
TRANSFERS, CIVIL CONSPIRACY FOR FRAUD,
AIDING & ABETTING OF FRAUDULENT TRANSFERS
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

Zafar Sheikh

Plaintiff

vs. Case No. 1:24-cv-00658
Bashir Chaudry, Bushra Naseer, Junaid
Ahmad, Ali Chaudry, Rabia Chaudry, Hon. Judge Martha Pacold
Yakub Chaus dba Yakub Chaus & Co.,
Shamaila Rafiq, Amjad Chaudry
Syed Jahantab, South Chicago One Inc.
BCA Investments Inc., Congress & Pulaski
Real Estate LLC., Nusrat Chaudry, Qadir’s

LLC, Zahdan Ahmed & his designated entity

Sem Nee Nem ne Ne Nem Nee Nee Nem Nem Ne Nee Nee” Nem re ee Nee ee Ne Ne Ne ee See”

John Doe, Hasan Safiuddin

NOW COMES THE PLAINTIFF ZAFAR SHEIKH and Complains of the

Defendants as Follows:

FACTS COMMON TO ALL COUNTS

In this fraudulent transfer suit, the Debtors Bashir Chaudry (Bashir), and Bushra Naseer

(Naseer), who owned and controlled assets of way over $10,000,000.00 (Ten Million
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dollars) with the knowledge and substantial assistance of a number of Defendants named
herein, engaged in a complicated scheme to hide, transfer and otherwise shield their
assets from the claims of the Plaintiff. And while Bashir and Naseer were implementing
their fraudulent transfer schemes, they selectively transferred their assets worth millions
of dollars to their friends, partners, their children including some minor children, relatives
and a select group of purchasers in a calibrated and strategic deliberate defaults, all in
violation of state laws, Court citations, and liens which prohibited the debtors from
transferring their assets.
While the case against Bashir and Naseer was being prosecuted in State Court, both
schemed with their attorneys, accountants and close friends and transferred their assets in
derogation of the rights of the Plaintiff and in violation of the state court directives. This
is an action to void the debtors fraudulent transfers pursuant to the provisions of the
Iilinois Uniform Fraudulent Transfer Act, 740 ILCS 160/1 et seq. (the "IUFTA"), and to
recover damages from those who conspired with Bashir and Naseer in designing,
implementing and executing their fraudulent transfer schemes. Plaintiff also wants the
civil co-conspirators and schemers to be held liable for their malfeasance, illegal intrigues
and civil conspiracies in aiding and abetting this racket.

VENUE
Venue is proper as this action is brought under 28 U.S.C. §1332 as this Court has
diversity jurisdiction because (a) this action is between citizens of different States with

the amount in controversy exceeding $75,000.
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In addition Venue is also appropriate in this Court pursuant to 28 U.S.C. §1391(b)(2),
because a substantial portion of the events giving rise to the claims asserted herein

occurred in this Judicial District.

Plaintiff

Plaintiff Zafar Sheikh is a citizen of the State of Texas, who had lived in Illinois, prior to
seeking retirement in Texas. Plaintiff while conducting business in Illinois had met the
debtors and entered into different contracts, business transactions and promissory notes
on which the debtors reneged and defaulted.

Defendants

Bashir Chaudry aka Chaudry Bashir: (Bashir)

Bashir is a resident of Lincolnwood, Illinois who entered into multiple agreements and
contracts with the Plaintiff on which he defaulted. Bashir heads and directs other
members of his family, organizes and incorporates different corporate entities, instructs
his accountant to file corporate returns for himself and those in his family, hires attorneys
for himself and other members of his family some of whom have been identified below.
Bashir can be described as someone who controls, directs, manipulates, steers, guides and
orchestrates all schemes, which other defendants within his family rehearse, and can
rightly be conceived as nothing more than pawns. A Court in law division of the Cook
County granted a judgment in favor of the Plaintiff Sheikh and against Bashir for
$1,535,000.00 in April 2022. (Exhibit A).

Bushra Naseer: (Naseer)
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Bushra Naseer is the sister in law of Bashir and wife of his brother, and resides in
Lincolnwood, Ilinois. A Court in law division of the Cook County granted a judgment in
favor of the Plaintiff Sheikh and against Naseer for $257,000.00 in April 2022. (Exhibit
A).

Ali Chaudry: Ali

Ali is son of Bashir and lives with his parents in Lincolnwood, Illinois. Ali conforms with
Bashir’s wishes and Bashir has assigned and transferred businesses and numerous other
assets to Ali’s name.

Rabia Chaudry: Rabia

Rabia is daughter of Bashir and lives with her parents in Lincolnwood, Illinois. Rabia
does as instructed by his father Bashir, who has transferred and parked assets in Rabia’s
name.

Junaid Ahmed (Ahmad)
Ahmad is a resident of Cook County, owns Congress & Pulaski Real Estate Inc.
Ahmad owns numerous gas stations and has purchased the Gas station Bank Note from
Abdelkader.

Congress & Pulaski Real Estate Inc., (Congress & Pulaski)

Congress & Pulaski Real Estate Inc., is an [linois corporation which is owned by Ahmad,
and in whose name Ahmad has purchased the Bnk Note from AbdelKader.

Nusrat Chaudhri: (Chaudhri)

Chaudhri is a resident of Inverness, Ilinois, and a close friend and relative of Bahir. Both

Chaudhri and Bashir have been business partners since at least 2005 in one form or
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another. Chaudhri is conspiring with Bashir in actively helping him conceal and shield his
assets.

Shamaila Rafiq: (Rafiq)

Rafiq is a resident of Downers Grove, Illinois, and is 50% owner with Bashir in the gas
station at 7283 South Chicago Avenue in Chicago. The business is run under the
corporate name of South Chicago One Inc.

South Chicago One Inc.,

South Chicago One Inc., is an Iinois corporation which is jointly owned by Bashir and
Shamaila Rafiq. Gas station at 7283 South Chicago Avenue, Chicago is owned and run
under this corporate entity.

Syed Jahantab (Syed)

Syed is a resident of Morton Grove, Illinois, and is son of Bashir’s friend Sha Jee.
Jahantab is a business partner of Bashir, who has transferred and parked couple of liquor
stores in Jahantab’s name.

Hasan Soufiuddin: (Safiuddin)

Safiuddin is a resident of Aurora, Illinois. Bashir sold him a gas station business (not
land) which is located at 415 S. Pulaski Avenue, in Chicago.

Yakub Chaus dba Yakub Chaus & Co., (Chaus)

Chaus is a resident of Cook County and maintains his office on Peterson Avenue in
Chicago. Chaus is a certified public accountant who has actively helped Bashir make
numerous shell companies with an intent to park Bashir’s assets in the name of those
companies in an effort to hide the true ownership of the Companies.

Amjad Chaudry (Amjad)
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Amjad Chaudry is a partner of Bashir and is a resident of Cook County. Bashir has
parked a recently acquired liquor store located in Wheaton, Illinois in Amjad’s name.
BCA INVESTMENTS (BCA)
BCA is an Illinois corporation, was formed by Chaus for Bashir and Amjad and is
registered in the State of Illinois. Business run by Bashir in Wheaton has been parked in
BCA’ name.
QADIR’S LLC (QADIR’S)
Qadir’s LLC is a shell Company organized by Bashir with the help of Chaus in which
Bashir has parked a luxury house in Lincolnwood, Illinois on this LLC’s name.
Zahdan Ahmad
Zahdan Ahmad is an Illinois resident who recently purchased the 415 Pulaski Avenue gas
station from Congress Pulaski Real Estate Inc., and Junaid Ahmed guised as ‘Note
Purchase’.

BACKGROUND
In April 2008 Plaintiff Zafar Sheikh (Sheikh) sold a gas station to Bashir
(Bashir) located at 1224 West 59th Street in Chicago. (59th Street gas station). The price
of the gas station was set at $1,500,000.00, out of which $300,000.00 was credited to
Bashir for improvements by Bashir and the rest $1,200,000.00 was financed by Sheikh.
Bashir signed a Note and a mortgage for this amount (Exhibit B).
Few years later, in early 2012 Bashir was able to refinance and obtain a loan from Hanmi
bank for $775,000.00 which he paid Sheikh towards the $1,200,000.00 note. That still left

a balance of over $425,000.00 payable to Sheikh.
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Other than that Sheikh had advanced an additional $100,000.00 to Bashir to help
purchase the inventory of the gas station, and also made few other cash advances to
Bashir for numerous equipment purchases at the gas station, totaling over $125,000.00.
(Exhibit C).
Upon getting partial payments towards the purchase of the gas station, in 2012 both
Bashir and Sheikh finalized the accounting for the balance owed to Sheikh by Bashir,
upon which Bashir signed a Promissory Note for $650,000.00 in favor of Sheikh,
agreeing to pay the balance owed to Sheikh no later than 2014. (Exhibit D).
In early February 2012, Bashir sold 50% share in the 59th Street gas station to Aslam.
Aslam was notified upon purchasing the gas station that Bashir owed Sheikh a balance of
$650,000.00 and that Bashir had signed a Promissory Note to pay Sheikh all amounts still
owed on the gas station by 2014. Aslam promised to make sure that those sums were
paid to Sheikh on time, so the Gas Station could be owned and run free and clear of all
liens.
Apart from the $650,000.00, as mentioned above, Bashir and his sister in law Naseer
obtained another $200,000.00 from Sheikh and promised to pay that sum upon the sale of
the gas station both owned at 415 South Pulaski Avenue in Chicago. (Exhibit E).
CHAUDRY & NASEEER’S DEFAULT PROMPTED A LAWSUIT
AGAINST THE BORROWERS
Bashir failed to pay Sheikh by 2014 as agreed in the Promissory Note, causing a default
on the obligations under the Note. Pulaski gas station was also sold by Bashir and Naseer

and despite its sale failed to pay monies owed to Sheikh. Both Bashir and Naseer had
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violated the terms of their Notes and were in default on making payments on over
$850,000.00 in loans.

Sheikh made numerous attempts to collect and both Bashir and Naseer made promises to
pay the amounts they owed, but never kept the promises.

Sheikh having failed to receive any payments finally filed a Complaint in Cook county
Law division in 2017. (17-L-07194).

The lawsuit was finally adjudicated in April 2022. The Court granted a judgment in favor
of Sheikh and against Bashir for $1,525,000.00 and in favor of Sheikh and against Naseer
for $257,000.00 respectively. (Exhibit A).

Bashir and Naseer have since absconded and have failed to pay any money towards
satisfying the judgments entered against them.

During the pendency of the lawsuit, (17-L-07194) and prior to its adjudication, Sheikh
learned in 2019 that Bashir and Naseer were trying to sell the 59th Street and 415 Pulaski
gas stations as well as some other assets that they had owned in anticipation of any
judgment that the Court may enter against them. Sheikh filed a Motion on 5/6/2019, and
notified the Court that Bashir and Naseer had fraudulently transferred the gas stations
and/or were actively contemplating selling other assets that they owned. (Exhibit F).
Sheikh asked the Court to avoid those transfers or issue an order which would prohibit
them from disposing off their assets.

At the hearings, Fadi Rafati, Counsel of Bashir and Naseer denied that their clients were
trying to sell any of the assets and assured the Court that he will advise his clients not to
sell anything during the pendency of the lawsuit. Court denied Sheikh’s Motion without

prejudice (Exhibit F: last page), and stated that the Court will not entertain any Motion to
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set aside fraudulent transfers or issue any other order to block the sale of Bashir or
Naseer’s assets till Sheikh prevails on his lawsuit and is able to secure a judgment in his
favor.

Despite Rafati’s representations to the Court that he nor his clients were selling or
contemplating Fraudulent Transfers, in reality Rafati was scouting for buyers for his
clients and
after finding the buyers, cemented multiple deals to sell Bashir and Naseer’s assets.

Rafati, also prepared all closing documents including Real Estate Purchase Agreements,

accepting $100,000.00 as escrowee for the 59th Street gas station. Attached are Real

estate agreements and $100,000.00 in Cashier Checks wired by Rafati as down payment
and copies of escrow agreements. (Exhibit G). Likewise Rafati also prepared agreements
to sell the business (not the property) at the 415 Pulaski gas station.

Earlier upon filing the lawsuit in 2017, Sheikh had recorded lis pendens Notices with the
Cook County Recorder of Deeds against Bashir & Naseer properties. The purpose of
recording the lis pendens was to notify the public of the pending lawsuit in Cook County.

(Exhibit H).

At the filing of the lawsuit by Sheikh in Cook County, Bashir and Naseer had
considerable holdings which were conservatively estimated to be around $8,000.000.00
to $10,000,000.00. (Eight to ten million dollars). Some of those assets were disposed off
by Bashir in Strategic deliberate defaults, while others were sold off in fire sales to

avoid paying the Plaintiff. From the monies received from those sales, Naseer and Bashir
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purchased additional assets and businesses which they parked in names of their spouses,
children and close family friends. Some of the assets that Bashir and Naseer owned at the
signing of the Promissory Notes and at the filing of the lawsuit and during its pendency
appear underneath. Plaintiff would like to point out that there may even be more assets
out there which are not in this Plaintiff’s knowledge and which may get known in due
course of time, and in discovery.

Gas Station at 1224 W. 59th Street, Chicago

Plaintiff Sheikh sold this gas station to Bashir in 2008 for $1,500,000.00. Out of which
$1,200,000.00 was financed by Sheikh. Bashir sold 50% shares in the gas station to
Jahanzaib and his wife Aslam for $350,000.00, and all three operated the gas station
under Loc Gas Inc.,The PIN Numbers of this property are: 20-17-131-018 to 024.
Sometime in 2016 Bashir and Aslam decided to go in strategic deliberate default, so the
gas station could be foreclosed by the Bank. Purpose of this deliberate default was to
wipe out all liens on the gas station, including the amounts owed to Sheikh, and then re-
purchase the gas station in foreclosure sale, free and clear of all liens.

Bashir and Aslam also worked out a deal with the lender Hanmi Bank, prior to the
foreclosure, which was negotiated by their attorney Rafati, which assured Hanmi Bank,
that once foreclosed, the property will have a ready buyer, namely his client Mohammed
Abdallah. Meantime Bashir and Aslam also assured the bank that they will not shut
down the gas station during the foreclosure process and will continue to operate it.

Rafati negotiated the price of the re-purchase of the property with the lender Hanmi bank
and it was agreed between the parties that the Hanmi bank will re-sell the gas station to

Rafati’s client Abdallah for $700,000.00 after foreclosure.

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Mohammed Abdallah, Rafati’s client was not the end buyer and was merely to act as a
proxy, under whose name Rafati arranged to re-purchase the gas station. Since this loan
was an SBA loan, their regulations prohibited re-selling the assets back to the original
owners who defaulted. As such a third party to act as a proxy was needed to hide the
transaction from SBA and Banking regulators.

In 2020 Mohammed Abdallah, as agreed with Rafati working as proxy for this transaction
purchased the gas station from the bank for $700,000.00. Abdallah used 59th Property
LLC to acquire the title of the gas station.

On the same day Abdallah who had acquired the title under 59th Property, Ilc., re-sold the
gas station back to Aslam and Bashir. In 2020 at its closing the gas station was estimated
to be worth at least two million dollars, but Aslam and Bashir managed to buy it back
from Abdallah for $1.2 million dollars, which is a 40% discount of its then existing
market value.

Aslam and Bashir financed the purchase of the gas station by obtaining a mortgage worth
$1,200,000.00 from the Millinium Bank (Exhibit I). Aslam acted as the mortgagor.

All four of them which included Abdallah, Bashir, Aslam and Rafati shared the excess
proceeds over $700,000.00 which they had paid Hanmi bank to purchase the gas station
in foreclosure and funneled the balance of $500,000.00, the difference between what they
paid the Hanmi bank and the $1,200,000.00 loan (Exhibit J: Closing Statement) that they
obtained from the Millinium bank back to themselves.

This deliberate strategic foreclosure, in the scheme of things, served two purposes for

Aslam and Bashir. One they figured that foreclosure would wipe out all liens, and deprive

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the Plaintiff from recouping on his debt, and secondly it put additional cash in their
pockets estimated to be over $125,000.00 for themselves and for other conspirators.

This Fraudulent transfer in a carefully calibrated deliberate default deprived the Plaintiff
of an asset which could have been used to satisfy his debt and was equally useful in going
around the lis pendens notices Sheikh had filed against the properties.

The gas station was sold for $700,000.00 whereas its true market value is at least
$2,000,000.00. In other words conspirators paid merely 1/3rd of the true value of the
property, when the gas station was sold to Abdallah who acted as the proxy.

This fraudulent Transfer made the debtor Bashir insolvent which prevented him from
satisfying his debts to the Plaintiff.

This Fraudulent Transfer was made by Bashir with actual intent to defraud the Plaintiff.
As a matter of fact nothing changed either before, during the pendency of the foreclosure
proceedings or after foreclosure. Bashir and his partner Aslam retained the business and
the possession of the gas station during foreclosure proceedings and continued to retain
the control of the gas station after foreclosure by re-purchasing the business in a
deliberate strategic default.

The transaction was concealed and different entities and individuals were used by Bashir
and Aslam to hide this transaction. Both had substantial help from Accountant Chaus who
made additional companies and corporations to hide the transaction. Chaus also
deceptively helped Aslam and Bashir to triple the sales of the gas station, which he filed
on their behalf with the Illinois department of Revenue and the Internal Revenue Service
prior to these individuals applying the loan from the Millinium bank, which helped secure

the loan.

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39- _— This transaction was contrived by Bashir and Aslam when a lawsuit was pending in the
Cook County law division seeking judgment against Bashir for monies owed to the
Plaintiff.

40- _‘ The transfer of the gas station on record was to an insider, a close associate and partner of
Bashir.

41- __ The transfer of this asset was substantial and comprised a major portion of Bashir’s
assets.

42- _ The value of the consideration received by the debtor Bashir was way lower than the
market value of the asset and was not reasonably equivalent to the value of the asset
transferred or the amount received for this fabricated transaction.

Gas Station at 415 South Pulaski Avenue, Chicago:

43- Naseer and Bashir owned this gas station at 415 South Pulaski Avenue which they
purchased in 2015 for $2,2000,000.00. Fearing the judgment in the pending litigation
could be entered against them, Bashir and Naseer sometime in early 2019 tried to sell the
property. Since a lis pendens had been placed on the property by Sheikh, the property
could not be sold as Banks shied away from writing a loan for a property in litigation.
The PIN Number of the property is: 16-14-112-037-0000

44- To go around this hurdle, Bashir and Naseer decided to sell the business only, (without
real property), in which purchasers usually do not search title deficiencies.

45- Hasan Safiuddin who was an old acquaintance of Bashir was offered the gas station
business at a discount. The business alone was worth $800,000.00 but was offered at a

steep discount to Safiuddin. Safiuddin purchased the gas station for $450,000.00 in cash.

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The sale of the gas station business was concealed by Bashir and Naseer as the business
is still being run under MDDS Inc., a corporation which is owned by Bashir and Naseer,
potentially giving them de-facto control of the property.

Few months later Bashir and Naseer also went into strategic deliberate default on this
property as well and stopped making any mortgage payments to the Bank.

During this period, when Chaudry had stopped making mortgage payment to the lender
Hinsdale Bank, he was introduced by a friend to One Soufian Abdelkader, who also owns
and operates multiple gas stations in and around Chicago. Both Chaudry and Abdelkader
concocted a plan, approached the Bank and worked out a ‘short sale’ arrangement of the
gas station in which the bank agreed to sell the Note to Abdelkader for slightly over
$000,000.00. (Redacted: Cook County Court Protective Order).

Bashir owned another property under Naseer’s name at 3635 West Armitage Avenue in
Chicago, and both this property and the gas station were on the same loan and with the
same lender, (Hinsdale Bank) were purchased by Abdelkader in a so called ‘short sale’
camouflaged as a ‘Note Purchase’ for a sum cited earlier for slightly over
$000,000.00. (Exhibit J). (Protective Order).

The gas station was purchased by Chaudry and Naseer in 2015 for $2,200,000.00. It is
estimated that the property now is worth at least $2,500,000.00. As such the gas station
which was sold for $000,000.00 in a deliberate and strategic default was sold at a
substantial discount compared to its tue market value. Sheikh has recently learned that
Abdel Kader has turned around and sold his ‘Note’ to another company known as
Congress & Pulaski Real Estate LLC for $500,000.00 over and above what Abdelkader

paid Hinsdale Bank. On information and belief, Congress & Pulaski very recently turned

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around and re-sold the gas station, to Zahdan Ahmad. As of writing of this amended
complaint, it is unknown if the gas station was purchased by Zahdan Ahmad on his
personal name or a shell company, as Ahmad has yet to record the documents with the
Cook County Recorder of deeds. If it turns out that the purchase was made on the name
of the Corporation, in that case the Corporation will also be made a defendant in this case.
These fraudulent Transfers have made Bashir and Naseer insolvent, making them unable
to satisfy the judgments against them.

These Fraudulent Transfer were made by Bashir and Naseer with actual intent to defraud
the Plaintiff.

The transaction was deliberately concealed and different entities, individuals and methods
were used by Bashir and Naseer to hide this transaction with the help of their accountant
Chaus. Chaus prepared all sales figures of the gas station and invented an additional
corporation which he named Awad Inc. to facilitate this transaction.

These transaction were contrived by Bashir and Naseer when a lawsuit was pending or a
judgment had been entered against them in the Cook County law division.

The transfer of the gas station business was made to an old friend and acquaintance of
Bashir and Naseer.

The transfer of this asset, comprised a major portion of Bashir’s assets. Sale of this asset
made Naseer and Bashir insolvent and unable to pay the debt and judgment which they
owed the Plaintiff.

The value of the consideration received by the debtors Bashir and Naseer was way lower
than the market value of the assets and was not reasonably equivalent to the market value

of the asset transferred or the amount received for this transaction.

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Liquor Store at 3635 W. Armitage Avenue, Chicago.

In 2001 Plaintiff Sheikh sold a liquor store located at 3635 West Armitage Avenue in
Chicago to Bashir. The transaction included the real property as well and the sales price
was set at $399,000.00 (Exhibit R). Bashir borrowed and assumed a mortgage for
$350,000.00 from a local bank. The PIN Number of the property is: 13-35-305-047.

In 2012 Bashir went into a deliberate default on this property and stopped making
mortgage payments to the Bank. It left the Bank with a choice to either file foreclosure
proceedings in the Court, which would have resulted in substantial legal fees, and
eighteen months or more of receiving no payments on its Joan or as an alternative, sell the
property.

Having cornered the Bank, Bashir pushed the Bank into agreeing to a ‘short sale’ and
repurchased the property in his brother and sister-in-law Naseer’s name. Naseer paid the
Bank $206,000.00 (Exhibit S). Through this strategic and deliberate default, Bashir
shaved off almost $140,000.00 from the price he paid on original mortgage.

Bashir continued to make payments thru his brother and sister in law on the $206,000.00
mortgage at which it had re-purchased the property till the end of 2021 and then went into
another deliberate default and stopped making further payments to the Bank on his
mortgage.

It was learned recently by Sheikh that few months ago Bashir has transferred the liquor
store business to his son Ali. Since Ali is yet to receive his liquor license, he is using the
liquor license of his mother Qadir, which Bashir had obtained few years earlier in his
wife’s name. Bashir’s accountant Chaus played a significant part in perpetrating this

transaction by creating different entities in an effort to hide the transactions from Sheikh.

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The total amount Bashir received for concocting this deliberate “short sale” of Armitage
liquor store and the gas station as outlined above at 415 S. Pulaski Avenue was
$600,000.00. Apart from pocketing 600,000.00, Bashir also managed to take these
properties out of reach for Sheikh, which Sheikh could have sold after getting the
judgment to recoup on his judgment. As noted earlier, Note obtained in short sale by
Abdelkader from Hinsdale Bank has been re-sold to another company ‘Congress &
Pulaski Real Estate LLC’ which is owned by Junaid Ahmed.

Congress & Pulaski LLC owns and operates numerous gas stations, and has no history,

like Abdelkader of purchasing Notes from banks. Recently few weeks ago, Junaid and
Congress Pulaski have sold the ‘Note’ to Zahdan Ahmad or to his designated entity,
whose name is still under wraps, as nothing has been recorded with the Recorder’s office
as of this date. This so called purchasing of “Note” was a back door attempt to purchase
the gas station and liquor store which these two companies could not have purchased
because of Sheikh’s lis pendens placed on the properties as well as the ‘Memorandum of
Judgment’ which was recorded by Sheikh against the properties after the Court in Cook
County entered the judgment in Sheikh’s favor..
The combined value of 3635 Armitage liquor store and 415 S. Pulaski gas station is
estimated to be around $2,800,000.00, which was sold to Abdelkader in a “short sale” for
far less than its true market value for a paltry sum of $000,000.00 (Price withheld:
Protective Order of Cook County Court). See Note below # 1.

This fraudulent Transfer made Bashir and Naseer insolvent, making them unable to

(1) Price paid for these assets is so low that Abdelkader, before providing documents in
response to Sheikh’s Subpoena insisted that Sheikh sign a non-disclosure agreement.

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to satisfy the judgment.

This Fraudulent Transfer was made by Bashir and Naseer with actual intent to defraud the
Plaintiff.

The transaction was kept hidden and different entities were used by Bashir and Naseer to
hide this transaction.

This transaction was contrived by Bashir and Naseer when a lawsuit was pending in the
Cook County law division seeking judgment against Bashir and Naseer, and/or a
judgment had been either entered or was about to be entered by the Court against these
individuals.

The transfer of the liquor store property was made to an old friend and acquaintance of
Bashir and Naseer.

The transfer of this asset was substantial and comprised a major portion of Bashir’s assets
on which the debts owed to the Plaintiff could have been satisfied. This transfer has made
Bashir insolvent and unable to satisfy Sheikh’s judgment.

The value of the consideration received by the debtors Bashir and Naseer, as well as
Abdelkader, Congress Pulaski Real Estate Inc., and Zahdan Ahmad for the gas station or
the transfer of liquor store by Bashir to his son, believed to have been made for no
consideration at all was way lower than the market value of the assets and was not
reasonably equivalent to the market value of the asset transferred or the amount received
for this transaction. The transfer was made to a his friends and to his son.

Sheikh would also like to point out that Bashir has successfully used the strategic and
deliberate defaults on multiple occasions on numerous other properties. Just few of the

properties which fell victim to his deliberate and strategic defaults are listed below:

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-Gas station at 3700 West 111th Street, Chicago.

- Strip Center at 6119-6131 S. Ashland Avenue, Chicago.

-Priceless Groceries, 501 W. Fairchild Road, Danville, Minois.

-Strip Center at 5049 West Madison, Chicago, Illinois.

Grocery Store at 951 S. Lewis Avenue, in Waukegan.
In 2015 Bashir and Naseer purchased the grocery store at 951 South Lewis Avenue in
Waukegan, Illinois, a far northern municipality situated close to Wisconsin. The property
is located in Lake County and bears the PIN Number of 08-29-400-029-0000.
Naseer paid $417,000.00 for the real property and another $350,000.00 was paid for the
business and fixtures of the property.
After the initiation of the lawsuit by the Plaintiff (17 L 07194), and in anticipation of a
judgment being entered against Naseer, who had the property title parked under Sandal
Inc. transferred the corporation to her sister-in-law, Qadir, who happens to be the wife
of the debtor Bashir. Chaus arranged to create new corporation in which Bashir shifted
his newly transferred business for the sole purpose of hiding Bashir and Naseer’s assets
from this Plaintiff.
This Fraudulent Transfer has divested Naseer and Bashir of another asset that could have
been utilized by the Plaintiff towards executing and partially satisfying his judgment.
The grocery store was transferred by Naseer to her sister-in-law Qadir, wife of debtor
Bashir for very little or no consideration at all.
This fraudulent Transfer has made Naseer and Bashir insolvent, making them unable to

satisfy the judgments against them.

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This Fraudulent Transfer was made by Naseer and Bashir with actual intent to defraud the
Plaintiff.

The transaction was deliberately concealed and different entities and individuals were
used by the debtors to hide this transaction.

This Fraudulent Transfer was contrived by Naseer and Bashir when a lawsuit was
pending in the Cook County law division seeking judgments against Bashir and Naseer.
This Fraudulent Transfer of the grocery store was made by Naseer and Bashir to an
insider and a close relative of theirs, in this case to Bashir’s wife Qadir.

The transfer of this asset was substantial and comprised a major portion of debtor’s
assets.

The value of the consideration received by the debtor Naseer and Bashir was insignificant
and way lower than the market value of the asset and was not reasonably equivalent to the
market value of the asset transferred or the amount received for this transaction.
Grocery Store at 1401 14th Street, Waukegan.

Being flush with money by concocting multiple ‘short sales’ and ‘strategic deliberate
defaults’ and holding a sizeable cash, Bashir over the next few months purchased
numerous businesses. One of the businesses that Bashir purchased was a grocery store
located at 1401 14th Street, in Waukegan, Illinois. Bashir paid over $100,000.00 in cash
to purchase this business.

In an effort to hide the true ownership of the store, Bashir put the business in his
daughter Mahin’s name. Bashir also had all business licenses issued in Mahin’s name as

well,

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Bashir also applied for a liquor license in Mahin’s name, and had a liquor license issued
for the business. The business is fully run, operated and managed by Bashir and his
daughter is merely a figurehead, who attended a local college when he purchased the
store. Bashir always had been and remains the main beneficiary of all profits and
proceeds of this business. Chaus made bogus and dummy companies to hide the
ownership of the business.

This fraudulent Transfer of $100,000.00 cash to purchase the business on his daughter’s
name made Bashir insolvent, making him unable to satisfy the judgments against them.
This Fraudulent Transfer was made by Bashir with actual intent to hide, hinder, delay and
defraud the Plaintiff.

The transaction was deliberately concealed and different entities and individuals were
used by Bashir to hide this transaction.

This transaction was consumed by Bashir when a lawsuit was pending in the Cook
County law division seeking judgment against Bashir for debts he owed the Plaintiff.
The transfer of $100,000.00 cash to Mahin and the purchase of business was made to an
insider who happened to be the daughter of the debtor Bashir.

The transfer of this asset was substantial and comprised a major portion of Bashir’s assets
which made Bashir insolvent and unable to satisfy his debts to the Plaintiff.

Liquor Store at 4200 West Armitage Avenue, Chicago.

With so much cash in hand, Bashir also decided to purchase a liquor store located at 4200
West Armitage Avenue in Chicago. For this business Bashir paid One named Aziz over
$130,000.00

in cash. The price included business, goodwill and inventory.

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As usual fearing a judgment in the lawsuit that was filed by the Plaintiff to recover the
sums Bashir owed him, Bashir put the business in Syed Jahantab’s name. Jahantab is the
son of Mr. Shah Jee, now deceased, who was a close friend of Bashir. The fictitious chain
of ownership and the legal entities made to hide the transaction were made by Chaus.
All licenses and leases of this liquor store are in Jahantab or on his entities name, but
Bashir remains the true owner and maintains total control over the operation and
management of the business. Bashir also remains the beneficiary of the profits and the
proceeds of the business.

This fraudulent Transfer of $130,000.00 cash to Jahantab and to purchase the business on
his close friend’s name made Bashir insolvent, making him unable to satisfy the
judgments against him.

This Fraudulent Transfer was made by Bashir with actual intent to hide cash from his
creditors, and defraud the Plaintiff.

The transaction was deliberately concealed and different entities and individuals were
used by Bashir to hide this transaction.

This Fraudulent Transfer was perpetrated by Bashir when a lawsuit was pending in the
Cook County law division seeking judgment against Bashir for debts he owed the
Plaintiff.

The transfer of $130,000.00 cash and the purchase of business was made to an insider
who happened to be the son of his close friend Shah Jee.

The transfer of this asset was substantial and comprised a major portion of Bashir’s
assets. It also made Bashir insolvent and unable to pay his debts to the Plaintiff.

Liquor Store at 4234 W. Fullerton, Chicago

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102- Apart from investing on Jahantab’s name on the 4200 West Armitage business, Bashir
also invested over $80,000.00 on a business that Jahantab had been operating since 2005.
This business was run by his father Shah Jee, but upon his death was taken over by
Jahantab, Shah Jee’s son.

103- Bashir invested this money to upgrade the store, purchase additional inventory as he
converted the store to a liquor store, which previously didn’t have a liquor license.

104- _—‘ This fraudulent Transfer of $80,000.00 in cash to purchase the 50% share in the liquor
store business with Jahantab made Bashir insolvent, making him unable to satisfy the
judgments against him.

105- This Fraudulent Transfer was made by Bashir with actual intent to hide the cash from his
creditors and defraud the Plaintiff.

106- The transaction was deliberately concealed and different entities and individuals were
used by Bashir to hide this transaction.

107- This transaction was contrived by Bashir when a lawsuit was pending in the Cook
County law division seeking judgment against Bashir for debts he owed the Plaintiff.

108- The transfer of $80,000.00 in cash and the purchase of business was made to an insider
who happened to be the son of his family friend.

109- The transfer of this asset was substantial and comprised a major portion of Bashir’s
assets.

Gas Station at 7283-87 South Chicago Avenue, Chicago.

110- In 2005 Bashir purchased a gas station located at 7283-87 S. Chicago Avenue in Chicago,

in which Nusrat Choudhri was his partner. Both financed the purchase thru a loan from

Allegiance Community bank (Exhibit K). The property consisted of gas station land as

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well as the business which sold fuels and additives. Both Bashir and Chaudhri managed,
owned and operated the gas station. Bashir and Chaudhri are not only related but also
close friends.

111- According to an unverified “transfer document” which is not authenticated, notarized or
certified, Choudhri claims that Bashir sold him his 50% share of the land on which the
gas station/building was located for a symbolic sum of $10.00 (Exhibit L).

112- It was learned that the real amount for which Bashir sold his 50% interest in the gas
station was $800,000.00, as the total market value of the property 15 years ago was
estimated to be $2,000,000.00.. This sum was financed by Bashir over a twenty five year
period under which Chaudhri is paying this amount to Bashir in equal monthly
installments. Under the agreement and in return, Choudhri relinquished the business
operation of the fuel station exclusively to Bashir, whereas the land which included the
building and the structure itself was deeded and was to be retained by Chaudhri. After
acquiring the business Bashir turned around and sold 50% of the gas station operation to
one Shmaila Rafiq for $200,000.00.

The partnership between Bashir and Rafiq is proven by certain documents which filed
with the Cook County Recorder of Deeds in 2018 by Gas Depot Inc., which supplies fuel
and related additives to the gas stations. Additional documents related to this transaction
including a ‘Right of First refusal’ were also recorded by Byline Bank, signed both by
Bashir and Rafiq. These documents gave Gas Depot right of first refusal to either
purchase or decline to purchase the gas station property in case the property was ever
sold. (Exhibit M). This ‘Right of first refusal’ document conveys the impression that

Bashir may have re-purchased the real estate or partially purchased the real estate back

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from Chaoudhri, since only an individual having ownership interest in a property can
grant the right of first refusal to a third party. Apart from the above, in 2023 in response to
a Citation issued to Chaoudhri in supplemental proceedings in Cook County, Chaudhri’s
filed a detailed response in which he acknowledged that the gas station business indeed is
owned by Bashir and Rafiq. (Exhibit N: Pages 3,4).

The gas station (business and building) is estimated in 2024 to have a combined value of
over $2,500,000.00 (two million five hundred thousand dollars), whereas the business
alone which is owned by Bashir and Rafiq is conservatively estimated to be worth
$700,000.00. This gas station is one of the largest gas stations on South Chicago Avenue
and co-incidentally one of the busiest.

Choudhri and Bashir are related to each other apart from being close friends. A character
letter written by Mahin, Bashir’s daughter to U.S. District Court Judge Kennelly asking
him to show leniency in sentencing Choudhri after the conclusion of a criminal trial,
shows that Choudhri is “like a second father’ to Bashir’s children. (Exhibit O). Truly a
close relationship.

Both Choudhri and Bashir are trying to workout an arrangement in which Rafiq is being
pressurized to claim that she has purchased the shares of Bashir and has become the sole
owner of the gas station, thus making her liable for facilitating this fraudulent transfer
and any financial liability which could be fairly assessed at or over $350,000.00 as being
the fair market value of the proceeds that she could have received from Bashir in a
fraudulent transfer.

It is believed that Bashir and Chaoudhri are coercing Rafiq to make false statements as

Rafiq feels threatened that if she doesn’t follow the script, Chaoudhri who owns the

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building and is the landlord could cancel Raafiq’s month to month lease or take other
actions which could force her out of the business, resulting in Rafiq loosing her equity
and investments.

This fraudulent Transfer of the 50% of the business shares of Bashir, to Rafiq made
Bashir insolvent, making him unable to satisfy the judgments against him. Chaus made
all corporations and legal entities in whose name Chaoudhri and Bashir could switch their
assets back and forth. Chaus created South Chicago Once Inc., in whose name this gas
station is being parked by Bashir and Rafiq.

This Fraudulent Transfer was made by Bashir to Rafiq with actual intent to hide his
assets from his creditors and defraud the Plaintiff.

The transaction was deliberately concealed and different entities and individuals were
used by Bashir and Rafiq to hide this transaction with active help from Chaus.

This transaction was contrived by Bashir when a lawsuit was pending, or a judgment was
about to be entered against him in a court of law in Cook County. The transaction was
concealed and was meant to hide it from being known to Bashir’s creditors including the
Plaintiff.

The transfer of this asset was substantial and comprised a major portion of Bashir’s
assets which made Bashir insolvent and unable to pay his creditors.
Purchase of a luxury Single Family House in Lincolnwood
Having sold the gas station at 415 Pulaski Avenue, the liquor store at 3635 Armitage
Avenue and the 59th Street gas station, Bashir was awash and loaded with substantial
amounts of cash. Bashir knew that having that much cash after a judgment that had been

entered against him, or was to be entered against him in a short order was risky. As such

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Bashir decided invest this cash in a way that it could not be easily traced. To perpetrate
this scheme, Bashir decided to park this cash in real estate and purchased a luxury single
family home in Lincolnwood, Illinois.

Since Bashir Could not purchase the house under his or his wife’s name, he asked Chaus
for help. Chaus advised Bashir not to purchase the house under his own name and instead
form a brand name LLC, which will be unknown to the Plaintiff Sheikh, and advised him
to put the house into the newly minted LLC, which Chaus named Qadir’s LLC

(Exhibit P).

Chaus invented and structured the LLC in a way in which Bashir’s two minor children
Ali and Rabia were to be the members of the LLC. Since the children were minor and
could not manage the LLC, Bashir was to act as a guardian and manage the affairs of the
LLC.

Chaus knew that the new LLC was being formed to hide and shield the assets of Bashir
from the Plaintiff. The purchase of the house was totally handled by Bashir in which
Bashir located the house, made an offer to purchase the house, negotiated the sales price,
hired Attorney Sheraz Darr for closing, went to the closing of this house and paid
$470,000.00 in cash to purchase the house (Exhibit Q). Bashir remains the owner of the
house, but to defraud his creditors, Bashir parked the house in the name of the newly
minted Qadir’s LLC., which shows his minor children Ali and Rabia as being beneficial
owners.

This transaction was kept hidden by Bashir and perpetrated in complete secrecy.

This Fraudulent Transfer was made by Bashir with actual intent to hide the cash from his

creditors and defraud the Plaintiff.

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128- The transaction was deliberately concealed and different entities and individuals were
used by Bashir to hide this transaction. The disposition of almost half a million dollars of
cash made Bashir insolvent and unable to pay his debts to the Plaintiff.

129- This transaction was contrived by Bashir when a lawsuit was pending in the Cook
County law division seeking judgment against Bashir for debts he owed the Plaintiff or
judgment was about to be entered against Bashir.

130- The transfer of $470,000.00 in cash to close relatives, in this instance to his minor
children for the sole purpose of purchasing this luxury house in Lincolnwood was made
to insiders with the intent to defraud the Creditors including this Plaintiff.

131- The transfer and disposition of $470,000.00 in cash is a substantial sum by any standard
and comprised a major portion of Bashir’s assets.

132- The disposition of such a large sum of cash has made Bashir insolvent and unable to pay
his debts, including the debt of the Plaintiff.

Bashir invests in an Additional $125,000.00 in a Grocery Store in Wheaton

133- Plaintiff has just recently unearthed another investment by Bashir in which Bashir has
invested over $125,000.00 in cash and purchased a grocery store located at 326 West
Liberty Road in Wheaton.

134- In this transaction Bashir paid $125,000.00 cash to a close associate Amjad Chaudry.
Both invested and own this business on a 50/50 basis,, but to hide this asset, Chaus
invented a brand new corporation he named BCA Investment, which shows Amjad
Chaudry as being the sole owner of this business. Debtor Bashir’s name is not even on
the record.

135- Bashir invested this money with Amjad to hide and conceal his assets and to defraud and

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deceive the Plaintiff.
This disposition of over $125,000.00 in cash has made Bashir insolvent and unable to pay
his debts and liabilities too his creditors including to this Plaintiff.
CURRENT STATUS
Current status of Plaintiff’s investigations in this matter are ongoing, and Plaintiff is
attempting to reconstruct the universe of Fraudulent Transfers between and amongst the
debtors Bashir, Naseer and their relatives and friends. So far Plaintiff has relied on some
records filed with the Cook County Recorder of Deeds but true scope and extent of
debtors conversions and transfers still remains under wrap. There is a strong possibility
that out there are assets which are owned by Bashir and Naseer, are hidden or concealed
under layers of corporate or personal machinations. For example the purchase of the
luxury estate uncovered just weeks ago by Sheikh was so well concealed by Bashir with
help from a professional accountant and CPA Chaus, that to unearth or disentomb this
transaction was practically an impossible task.
CHAUDRY & NASEER CANNOT SATISFY THE JUDGMENTS
WITH THEIR REMAINING ASSETS.

Bashir and Naseer have represented that they have no assets with which to satisfy the
Judgments, entered by Court in favor of Sheikh and against them . The house which is
owned by Bashir at 6655 N. Monticello Avenue in Lincolnwood and the house owned by
Naseer at 3673 West Northshore Avenue in Lincolnwood have multiple judgments listed
against them, and those judgments which were placed on their properties before Sheikh’s

judgment are superior and have priority over the Plaintiff’s judgment.

ILLINOIS FRAUDULENT TRANSFER ACT AFFORDS RELIEF

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TO THE PLAINTIFF SHEIKH

740 ILCS 160/6(A) states:

(a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor whose

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claim arose before the transfer was made or the obligation incurred if the debtor made
the transfer or incurred the obligation without receiving a reasonably equivalent value in
exchange for the transfer or obligation and the debtor was insolvent at the time or the
debtor became insolvent as a result of the transfer or obligation.

740 ILCS 160/5 states in pertinent part:

(a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,
whether the creditor's claim arose before or after the transfer was made or the obligation
was incurred, if the debtor made the transfer or incurred the obligation:
(1) with actual intent to hinder, delay, or defraud any creditor of the debtor; or
(2) without receiving a reasonably equivalent value in exchange for the transfer or
obligation, and the debtor:
(A) was engaged or was about to engage in a business or a transaction for which the
remaining assets of the debtor were unreasonably smail in relation to the business or
transaction; or
(B) intended to incur, or believed or reasonably should have believed that he would incur,
debts beyond his ability to pay as they became due.
(b) In determining actual intent under paragraph (1) of subsection (a), consideration may
be given, among other factors, to whether:
(1) the transfer or obligation was to an insider;
(2) the debtor retained possession or control of the property transferred after the transfer;
(3) the transfer or obligation was disclosed or concealed;
(4) before the transfer was made or obligation was incurred, the debtor had been sued or
threatened with suit;
(5) the transfer was of substantially all the debtor's assets;
(6) the debtor absconded;
(7) the debtor removed or concealed assets;
(8) the value of the consideration received by the debtor was reasonably equivalent to the
value of the asset transferred or the amount of the obligation incurred;
(9) the debtor was insolvent or became insolvent shortly after the transfer was made or
the obligation was incurred;
(10) the transfer occurred shortly before or shortly after a substantial debt was
incurred; and
(11) the debtor transferred the essential assets of the business to a lienor who transferred
the assets to an insider of the debtor.

740 ILCS 160/8 states in pertinent part:

(a) In an action for relief against a transfer or obligation under this Act, a creditor,
subject to the limitations in Section 9, may obtain:

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(1) avoidance of the transfer or obligation to the extent necessary to satisfy the
creditor's claim;
(2) an attachment or other provisional remedy against the asset transferred or other
property of the transferee in accordance with the procedure prescribed by the Code of
Civil Procedure;

(3) subject to applicable principles of equity and in accordance with applicable rules of
civil procedure,

(A) an injunction against further disposition by the debtor or a transferee, or both, of the
asset transferred or of other property;

(B) appointment of a receiver to take charge of the asset transferred or of other property
of the transferee; or

(C) any other relief the circumstances may require.

(b) Ifa creditor has obtained a judgment on a claim against the debtor, the creditor, if the

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court so orders, may levy execution on the asset transferred or its proceeds.

Causes of Action
Count I: Against Bashir for Avoidance of Actually Fraudulent Transfers
For Count I of its verified Complaint, Sheikh incorporates the allegations contained in the
preceding paragraphs 1 through 136 as if part and parcel of this Count, and further states
as follows:
Bashir perpetrated each of the Fraudulent Transfers as noted above by disposing off gas
stations on 59th Street, another gas station at 415 South Pulaski Avenue, liquor store
property at 3635 Armitage Avenue, grocery store at 951 S. Lewis Avenue in Waukegan,
liquor store at 4200 W. Armitage Avenue, another liquor store at 4234 West Fullerton
Avenue, luxury single family house at 7001 North Keeler Avenue in Lincolnwood and
transferred them to his family friends, Spouse, son, daughters and other close friends and
associates.
These Transfers were made with the actual intent to hinder, delay or defraud Plaintiff.
These transfers made Bashir insolvent and unable to pay his debts.

Transfers were made when Plaintiff had filed or about to be filed, judgment rendered or

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about to be rendered and Bashir intended to put his assets out of reach for the Plaintiff.
146- The transfers were concealed and were kept a close secret by Bashir.
147- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor
of the Plaintiff and against Bashir, thus:
A. avoiding all the Transfers as itemized above,
B. preserving the avoided Transfers for the benefit of the Plaintiff;
C. —_ awarding Plaintiff a money judgment against Bashir or/and his transferees, for
$1,535,000.00 plus statutory interest from the date of the judgment, and
D. _ granting all other relief which this Court deems is just and proper in the premises.
Count II: Against Bashir for Avoidance of Constructively Fraudulent Transfers

148- For Count II of its Verified Complaint, Plaintiff incorporates the allegations contained in
the preceding paragraphs 1 through 136, and further states as follows:

149- Bashir made each of the Constructively Fraudulent Transfers including 415 Pulaski gas
station, 1224 W. 59th Street, Chicago, 951 S. Lewis Avenue, Waukegan, 4200 W.
Armitage Avenue, Chicago, 3635 W. Armitage Avenue, Chicago and 4234 W. Fullerton
Avenue in Chicago and 7001 North Keeler Avenue in Lincolnwood.

150- _—_ Each of the Constructively Fraudulent Transfers was made without the transferor
receiving a reasonably equivalent value in exchange while the transferor was engaged or
was about to engage in a business or transaction for which its remaining assets were
unreasonably small in relation to its business or the transaction.

151- __ Each of the Constructively Fraudulent Transfers was made without the transferor

receiving a reasonably equivalent value in exchange and the transferor intended to incur,

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or reasonably should have believed, that the transferor would incur debts beyond the

transferor’s ability to pay as the debts became due.

152- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and

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against Bashir thus:

avoiding all Constructively Fraudulent Transfers Bashir made as itemized above;

preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;

C. awarding Plaintiff a money judgment against Bashir in the amount of the
Constructively Fraudulent Transfers of at least $1,535,000.00 plus post-judgment interest,
and costs of the proceedings;
and granting all other relief which this Court deems is just and proper in the premises.
Count ITI: Against Naseer for Avoidance of Actually Fraudulent Transfers
For Count III of its Verified Complaint, Sheikh incorporates the allegations contained in
the preceding paragraphs 1 through 136 as if part and parcel of this Count, and further
states as follows:

Naseer perpetrated each of the Fraudulent Transfers as noted above by disposing off gas
stations at 415 South Pulaski Avenue, Liquor store at 3635 Armitage Avenue, grocery
store at 951 S. Lewis Avenue in Waukegan, and transferred them to her family friends,
sister-in-law and other close associates.

These Fraudulent Transfers were made with the actual intent to hinder, delay or defraud
Plaintiff.

These transfers made Naseer insolvent and unable to pay her debts.

Transfers were made when Plaintiff had filed or was about to file a lawsuit against

Naseer and Naseer intended to put her assets out of reach to the Plaintiff.

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The transfers were concealed and were kept a close secret by Naseer.

WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff
and against Naseer, thus:

avoiding all Transfers as itemized above,

preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

awarding Plaintiff a money judgment against Naseer or/and her transferees, for a
minimum of $257,000.00 plus post judgment interest, and

granting all other relief which this Court deems is just and proper in the premises.
Count IV: Against Naseer for Avoidance of Constructively Fraudulent Transfers
For Count IV of its Verified Complaint, Plaintiff incorporates the allegations contained in
the preceding paragraphs 1 through 136, and further states as follows:

Naseer made each of the Constructively Fraudulent Transfers including 415 Pulaski gas
station, 3635 W. Armitage Chicago, and 951 Lewis Avenue, Waukegan.

Each of the Constructively Fraudulent Transfers was made without the transferor
receiving a reasonably equivalent value in exchange while the transferor was engaged or
was about to engage in a business or transaction for which its remaining assets were
unreasonably small in relation to its business or the transaction.

Each of the Constructively Fraudulent Transfers was made without the transferor
receiving a reasonably equivalent value in exchange for what the transferor intended to
incur, or reasonably should have believed, that the transferor would incur debts beyond
the transferor’s ability to pay as the debts became due.

WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and

against Naseer, thus:

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avoiding the Constructively Fraudulent Transfers Naseer made as itemized above,
preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;
awarding Plaintiff a money judgment against Naseer in the amount of the Constructively
Fraudulent Transfers of at least $257,000.00 plus post-judgment interest, and costs of the
proceeding;
and granting all other relief which this Court deems is just and proper in the premises.
Count V: Against Safiuddin for Avoidance of Actually Fraudulent Transfers
For Count V of its Verified Complaint, Sheikh incorporates the allegations contained in
the preceding paragraphs 1 through 136 as if part and parcel of this Count, and further
states as follows:
Safiuddin participated in and perpetrated each of the Fraudulent Transfers as noted above
by fraudulently accepting the gas station at 415 South Pulaski Avenue in
Chicago, knowing that he was doing so to make that asset unreachable to the Plaintiff.
The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud
Plaintiff.
These transfers made the debtors including the transferor Bashir insolvent and unable to
pay the debts he owed. Transfers were made to a close friend of Bashir.
Transfer was made when Plaintiff had filed or was about to file a lawsuit against the
debtors and the debtors intended to put their assets out of reach to the Plaintiff.
The transfers were concealed and were kept a close secret by Safiuddin.
WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff
and against Safiuddin thus:

avoiding the Fraudulent Transfers,

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preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

awarding Plaintiff a money judgment against Safiuddin of at least $257,000.00 plus post
judgment interest and

granting all other relief which this Court deems is just and proper in the premises.
Count VI: Against Safiuddin for Avoidance of Constructively Fraudulent Transfers
For Count VI of its verified Complaint, Plaintiff incorporates the allegations contained in
the preceding paragraphs 1 through 136, and further states as follows:

Safiuddin made each of the Constructively Fraudulent Transfers and transferred an asset
to his name namely the 415 Pulaski gas station in Chicago.
Each of the Constructively Fraudulent Transfers were made without the transferor
receiving a reasonably equivalent value in exchange while the transferor was engaged or
was about to engage in a business or transaction for which its remaining assets were
unreasonably small in relation to its business or the transaction.
Each of the Constructively Fraudulent Transfers was made without the transferor
receiving a reasonably equivalent value in exchange and the transferor intended to incur,
or reasonably should have believed, that the transferor would incur debts beyond the
transferor’s ability to pay as the debts became due.
WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
Safiuddin, thus:

avoiding the Constructively Fraudulent Transfers so made;

preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;
awarding Plaintiff a money judgment against Safiuddin in the amount of the

Constructively Fraudulent Transfers of a minimum amount of $257,000.00 plus pre-

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judgment interest, and costs of these proceedings,

and granting all other relief which this Court deems is just and proper in the premises.
Count VII: Against Junaid Ahmad, Congress Pulaski Real Estate Inc., and Zahdan
Ahmad for Avoidance of Actually Fraudulent Transfers

For Count VII of its Amended Complaint, Sheikh incorporates the allegations contained
in the preceding paragraphs 1 through 118 as if part and parcel of this Count, and further
states as follows:

Junaid Ahmad and his fully owned Congress & Pulaski RE Inc., and Zahdan Ahmad
participated in and perpetrated each of the Fraudulent Transfers as noted above by
fraudulently accepting the gas station at 415 South Pulaski Avenue in Chicago, as well as
liquor store located at 3635 W. Armitage Avenue, in Chicago, knowing that he was doing
so to make that asset unreachable to the Plaintiff. Purchase was disguised as purchasing
the Note on which Bashir deliberately defaulted.
The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud the

Plaintiff.

These transfers made the debtors including the transferor Bashir insolvent and unable to

pay the debts he owed, and transfers were made to a close friend or associate, and was
made at prices way lower at what those assets would have been sold in the open market.
Transfer was made when Plaintiff had filed or was about to file a lawsuit against the
debtors and the debtors intended to put their assets out of reach to the Plaintiff.

The transfers were concealed and were kept a close secret by Junaid and Zahdan along
wih their corporate entities of Congress Pulaski Real Estate.

WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff

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and against Junaid Ahmad, Zahdan Ahmad and Congress & Pulaski RE Inc., and against
still unknown corporate entity that Zahdan Ahmad used to conceal this transaction, thus:

A, avoiding the Fraudulent Transfers,

B. preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C. awarding Plaintiff a money judgment against Junaid Ahmad, Zahdan Ahmad and against
Congress & Pulaski Real Estate for a minimum of $1535,000.00 plus post judgment
interest,

D. granting all other relief which this Court deems is just and proper in the premises.
Count VIII: Against Zahdan Ahmad, Junaid Ahmad and Congress & Pulaski for
Avoidance of Constructively Fraudulent Transfers

181- For Count VIII of its verified Amended Complaint, Plaintiff incorporates the allegations
contained in the preceding paragraphs 1 through 136, and further states as follows:

182- Zahdan Ahmad, Junaid Ahmad and Congress & Pulaski Inc., made each of
the Constructively Fraudulent Transfers which included the 415 Pulaski gas station as
well as the Liquor store at 3635 W. Armitage Avenue in Chicago.

183- Each of the Constructively Fraudulent Transfers were made without the transferor
receiving a reasonably equivalent value in exchange while the transferor was engaged or
was about to engage in a business or transaction for which its remaining assets were
unreasonably small in relation to its business or the transaction.

184- Each of the Constructively Fraudulent Transfers was made without the transferor
receiving a reasonably equivalent value in exchange and the transferor intended to incur,
or reasonably should have believed, that the transferor would incur debts beyond the

transferor’s ability to pay as the debts became due. Transfer was disguised as a Note

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purchase.
185- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against

Junaid Ahmad and his wholly owned Congress & Pulaski RE Inc., as well as Zahdan

Ahmad thus:
A. avoiding the Constructively Fraudulent Transfers so made;
B. preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;

C. awarding Plaintiff a money judgment against Junaid Ahmad, Zahdan Ahmad and
Congress Pulaski Real Estate in the amount of the Constructively Fraudulent Transfers of
at least $1535,000.00 plus pre-judgment interest, and costs of the proceeding;

D. and granting all other relief which this Court deems is just and proper in the premises.
Count IX: Against Jahantab for Avoidance of Actually Fraudulent Transfers of
liquor stores at 4200 West Armitage Avenue & liquor store at 4234 W. Fullerton
Avenue.

For Count IX of its verified amended Complaint, Sheikh incorporates the allegations
contained in the preceding paragraphs 1 through 136 as if part and parcel of this Count,
and further states as follows:

186- Jahantab participated in and perpetrated each of the Fraudulent Transfers as noted above
by fraudulently accepting the liquor stores located at 4200 West Armitage Avenue in
Chicago, and an additional liquor store located at 4234 West Fullerton Avenue in
Chicago, knowing that he was doing so to make that asset unreachable to the Plaintiff.

187- The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud
Plaintiff and were made to Jahantab, who is the son of Bashir’s close friend Shahjee.

188- These transfers made the debtors including the transferor Bashir insolvent and unable to

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pay the debts he owed.

189- Transfer was made when Plaintiff had filed or was about to file a lawsuit against the
debtors and the debtors intended to put their assets out of reach to the Plaintiff.

190- The transfers were concealed and were kept a close secret by Jahantab,

191- Jahantab acted as a proxy whereas Bashir controlled the businesses,

192- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff
and against Jahantab thus:

A. avoiding the Fraudulent Transfers of the liquor/grocery store located at 4200 West
Armitage Avenue, and another liquor store at 4234 W. Fullerton Avenue, in Chicago.

B. __ preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C. awarding Plaintiff a money judgment against Jahantab of $1535,000.00 plus interest,

D. granting all other relief which this Court deems is just and proper in the premises.
Count X: Against Jahantab for Avoidance of Constructively Fraudulent Transfers
for Liquor stores at 4200 W. Armitage & 4234 W. Fullerton, Chicago.

193- For Count X of its verified Complaint, Plaintiff incorporates the allegations contained
in the preceding paragraphs 1 through 136, and further states as follows:

194- Jahantab made each of the Constructively Fraudulent Transfer of the Liquor/grocery
store located at 4200 West Armitage Avenue in Chicago, and another liquor store at 4234
W. Fullerton Avenue, Chicago.

195- Each of the Constructively Fraudulent Transfers were made without the transferor
receiving a reasonably equivalent value in exchange while the transferor was engaged or
was about to engage in a business or transaction for which its remaining assets were

unreasonably small in relation to its business or the transaction.

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196- Each of the Constructively Fraudulent Transfer was made without the transferor
receiving a reasonably equivalent value in exchange and the transferor intended to incur,
or reasonably should have believed, that the transferor would incur debts beyond the
transferor’s ability to pay as the debts became due. Transfers were made to the son of a
close friend.

197- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
Jahantab, thus:

A: avoiding the Constructively Fraudulent Transfers so made of the liquor store located at
4200 West Armitage Avenue and another located at 4234 W. Fullerton in Chicago.

B. preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;

C. awarding Plaintiff a money judgment against Jahantab, in the amount of the
Constructively Fraudulent Transfers of at least $1535,000.00 plus pre-judgment interest,
and costs of the proceeding;

D. and granting all other relief which this Court deems is just and proper in the premises.

Count XI: Against Rafiq for Avoidance of Actually Fraudulent Transfers
For Count XI of its verified Complaint, Sheikh incorporates the allegations contained in
the preceding paragraphs 1 through 136 as if part and parcel of this Count, and further
states as follows:

198- Rafiq perpetrated each of the fraudulent transfers as identified herein this complaint by
trying to conceal the ownership of the gas station located at 7283-87 S. Chicago Avenue.

199- These Transfers were made with the actual intent to hinder, delay or defraud Plaintiff.

200- These transfers made Bashir insolvent and unable to pay his debts.

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201- Transfers were made when Plaintiff had filed or was about to file a lawsuit against him,
or a judgment was soon to be entered against Bashir. The main goal and purpose of Rafiq
was to put his or Bashir’s assets out of reach to the Plaintiff.

202- The transfers were contemplated and concealed and were kept a close secret by Rafiq.

203- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff

and against Rafiq, thus:

avoiding all fraudulent Transfers as itemized above.

preserving the avoided Transfers for the benefit of the Plaintiff;

awarding Plaintiff a money judgment against Rafiq for $1,535,000.00 plus interest,

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granting all other relief which this Court deems is just and proper in the premises.
Count XII: Against Rafiq for Avoidance of Constructively Fraudulent Transfers
204- For Count XII of its verified Complaint, Plaintiff incorporates the allegations
contained in the preceding paragraphs 1 through 136, and further states as follows:

205- _ Rafiq participated and engaged in making each of the Constructively Fraudulent
Transfers identified herein above.

206- Each of the Constructively Fraudulent Transfers was made without the transferor
receiving a reasonably equivalent value in exchange while the transferor was engaged or
was about to engage in a business or transaction for which its remaining assets were
unreasonably small in relation to its business or the transaction.

207- Each of the Constructively Fraudulent Transfers was made without the transferor

receiving a reasonably equivalent value in exchange and the transferor intended to incur,

or reasonably should have believed, that the transferor would incur debts beyond the

transferor’s ability to pay as the debts became due.

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208- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
Rafiq by:

A, avoiding all Constructively Fraudulent Transfers Rafiq made as itemized above;

B. preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;

C. awarding Plaintiff a money judgment against Rafiq in the amount of the Constructively
Fraudulent Transfers and a minimum of $1535,000.00 plus pre-judgment interest, and
costs of these proceeding;

D. and granting all other relief which this Court deems is just and proper in the premises.
Count XIII: Against Qadir’s LLC, Ali and Rabia for Avoidance of Actually
Fraudulent Transfers of the Luxury House at 7001 N. Keeler, Lincolnwood.

For Count XIII of its verified Amended Complaint, Sheikh incorporates the allegations
contained in the preceding paragraphs 1 through 136 as if part and parcel of this Count,
and further states as follows:

209- Ali, Rabia and Qadir’s LLC participated in and perpetrated each of the Fraudulent
Transfers as noted above by accepting $470,000.00 in cash and investing that money to
purchase the luxury house in Lincolnwood, Illinois, knowing that this activity was
fraudulent and money being transferred by Bashir to his minor children Ali and daughter
Rabia and newly minted LLC by Chaus was an attempt to fraudulently transfer their
assets, and in doing so was to make that asset unreachable to the Plaintiff.

210- —‘ Fraudulent Transfer was made with the actual intent to hinder, delay or defraud

Plaintiff.
211- ‘These transfers made the debtors including the transferor Bashir insolvent and unable to

pay the debts he owed.

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Transfer was made when Plaintiff had filed a lawsuit against Bashir and a Court decision
was expected or had been entered against the debtors and the debtors intended to put their
assets out of reach to the Plaintiff.

The transfers were concealed and were kept a close secret by Bashir, Chaus, Ali, Rabia
and the limited liability Company newly minted for this fraudulent purpose,

Ali, Rabi and Qadir’s LLC acted as a proxy of Bashir whereas Bashir controls his minor
children and the Qadir’s LLC.,

WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff

and against Ali, Rabia and Qadir’s LLC by:

. avoiding the Fraudulent Transfer of the single family luxury house located at 7001 North

Keeler Avenue in Lincolnwood, Illinois.

preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

. awarding Plaintiff a money judgment against Ali, Rabia and Qadir’s LLC., of at least

$1,535,000.00 plus post judgment interest and,

granting all other relief which this Court deems is just and proper in the premises.
Count XIV: Against Rabia, Ali and Qadir’s LLC for Avoidance of Constructively
Fraudulent Transfers
For Count XIV of its verified Complaint, Plaintiff incorporates the allegations contained
in the preceding paragraphs 1 through 136, and further states as follows:
Qadir’s LLC, Bashir’s minor children Ali and Rabia made each of the Constructively
Fraudulent Transfer of receiving $470,000.00 in cash and for the purpose of hiding,
purchased a single family house in Lincolnwood, Illinois.

The Constructively Fraudulent Transfer of cash and purchasing the house were made
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without the transferor receiving a reasonably equivalent value in exchange while the
transferor was engaged or was about to engage in a business or transaction for which its
remaining assets were unreasonably small in relation to its business or the transaction.
Each of the Constructively Fraudulent Transfer was made without the transferor
receiving a reasonably equivalent value in exchange and the transferor intended to incur,
or reasonably should have believed, that the transferor would incur debts beyond the
transferor’s ability to pay as the debts became due. Transfers were made by debtor to his
children.

WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
Qadir’s LLC, and Bashir’s Ali and Rabia, thus:

avoiding the Constructively Fraudulent Transfers of making $470,000.00 in cash to
purchase the house at 7001 North Keeler Avenue, in Lincolnwood, Illinois.

preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;
awarding Plaintiff a money judgment against Qadir’s LLC, Ali and Rabia, in the full
amount of the Constructively Fraudulent Transfers of $470,000.00 plus pre-judgment
interest, and costs of the proceedings;

and granting all other relief which this Court deems is just and proper in the premises.
Count XV: Against Chaus dba Yakub Chaus & Co., for aiding and abetting
Fraudulent and Constructive Transfers

For Count XXII Plaintiff reincorporates the allegations contained in the preceding
paragraphs 1 to 136 and states further:

Chaus dba Yakub Chaus & Co., made, invented, concocted and resurrected dozens of

corporations and limited liability companies for Bashir and Naseer.

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223- While inventing those entities Chaus knew or would have every reason to know that the
purpose of making these companies for Bashir, Naseer, Qadir, Mahin, Ali, Rabia,
Jahantab, Rafiq and Aslam was not for legitimate legal or professional purposes.

224- Chaus made these entities for the sole purpose of helping Bashir, Aslam, Naseer and
Rafiq to hide their assets with the active intent, knowledge and complete complicity of
deceiving and defrauding the Plaintiff by streamlining the fraudulent transfers into
different entities, corporations and limited liability companies and giving the scheme a
legal cover.

225- Restatement (Second) of Torts § 876 is determinative as Chaus, Bashir and Naseer’s
actions were concerted and established a legal relationship between a tort feasor who
acted in concert with his clients.

226- Additionally Chaus (a) committed a tortious act in concert with Bashir and Naseer and
their designated proxies pursuant to a common design, or (b) knew that his clients
conduct constituted a breach of duty and gave substantial assistance or encouragement to
Bashir and Naseer as to their fraudulent transfers, or (c) gave substantial assistance to the
debtors in accomplishing a tortious result after establishing a legal relationship with the
tortfeasors.

227- That by virtue of this relationship, Chaus dba Yakub Chaus & Co., provided substantial
assistance and encouragement and established a joint enterprise and a mutual agency and
provided substantial assistance to Bashir and Naseer to sell their assets to their relatives,
their children and their spouses in shell corporations and companies with the actual
knowledge and actual intent to deprive the Plaintiff of the fruits of his judgment that was

entered by a competent court of law in Cook County, Mlinois.

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Chaus’s conduct as an accountant and a CPA was not restricted by failing to act or advise
Bashir and Naseer not to violate the Fraudulent Transfer Act, but in reality assisted Bashir
and Naseer to violate Fraudulent Transfer Act so they could dispose off their properties
before court could enter a judgment that would enable the Plaintiff to execute the
judgment against those properties that Chaus helped hide, conceal and disperse.

Liability under §§ 876 (b) and (c)2 (Re-statement of torts) “is not based on common
design or agreement, but on substantial assistance.” Chaus did not merely fail to act, but
rather assisted Bashir and Naseer in circumventing and violating laws.

Chaus actively participated and helped in perpetrating each of the Fraudulent Transfers as
noted above by actively aiding and abetting their transfers.

Chaus knew his help to Bashir and Naseer was meant with an actual intent to hinder,
delay or defraud Plaintiff.

Chaus knew that his providing assistance to Bashir and Naseer to sell and transfer their
assets will make both Bashir and Naseer insolvent and unable to pay the debts they owed
the Plaintiff.

Chaus knew that he was assisting the fraudulent transfers as a lawsuit against Bashir and
Naseer was pending and a judgment against these individuals was imminent. Chaus not
only had constructive notice of the issues in the case but had actual knowledge of the
underlying issues, as Chaus was the accountant of record for Bashir and Naseer
throughout the trial at the Cook County.

WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against

Chaus and Yakub Chaus & Company.

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It is also prayed that the Court also spread the full amount of Judgments against Chaus
and Yakub Chaus & Company that the Court entered in the prior litigation (17-L-07194)
against Chadury and Naseer for $1,535,0000.00 and $257,000.00 respectively.

Grant any other relief which is just and proper in the premises.

COUNT XVI Against Choudhri, Rafiq & Chaus for engaging in Civil Conspiracy
to commit fraud and help Bashir to defeat judgment

Plaintiff reincorporates the allegations in the preceding paragraphs 1-136 and states
further:

Defendants Chaudhri, Chaus and Rafiq knowingly and voluntarily participated in a
common scheme with Bashir and Naseer to commit an unlawful act to assist both debtors
in delaying, hindering or defrauding the Plaintiff.

Defendants Choudhri, Chaus and Rafiq understood the general objectives of the debtor
Bashir and Naseer’s conspiratorial schemes, accepted them, and agreed implicitly to do
their part to further those objectives.

As set forth in details above, Defendants Chaudhri, Chaus and Rafiq entered into an
agreement for the purpose of accomplishing, by concerted action, the unlawful purpose of
hiding, transferring or otherwise shielding Bashir and Naseer’s assets in violation of the
Citation Liens that prohibited the debtors from transferring their assets, and otherwise in
derogation of the rights of the Plaintiff, as part of the scheme to delay, hinder or defraud
Bashir and Naseer’s judgment creditors.

The course of conduct set forth above constitutes a civil conspiracy to commit fraud on
Bashir and Naseer’s judgment creditor which proximately caused harm and damage to

the Plaintiff as debtor’s assets were fraudulently transferred.

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Accordingly, Defendants Choudhri, Chaus and Rafiq are jointly and severally liable to
Plaintiff for the harm and damage caused by their civil conspiracy with debtor Bashir and
Naseer in the fraud committed on the Plaintiff.

WHEREFORE Plaintiff prays that the Court enter a judgment against Choudhri, Chaus
and Rafiq for the full amount of judgment that was entered against Bashir and Naseer for
$1,535,910 and $257,000.00 respectively plus all post judgment interest and spread them
against the above named defendants.

Count XVII against Choudhri, Chaus and Rafiq for aiding and abetting Fraud and
Fraudulent Transfers made by Bashir and Naseer to avoid judgment

Plaintiff re-incorporates the allegations described above in the complaint and further
States as under:

As set forth in detail above, Bashir and Naseer engaged in numerous schemes to
fraudulently transfer their assets in an effort to delay, hinder or defraud his creditors,
which injured the ability of the judgment creditors to collect on the amount of
indebtedness owed to them by Bashir and Naseer.

Defendants Choudhri, Chaus and Rafiq were aware of their roles in judgment debtor
Bashir and Naseer’s fraudulent transfer schemes when they provided assistance to these
individuals in the accomplishment of those schemes;

Defendants Choudhri, Chaus and Naseer provided knowing and substantial assistance to
Bashir and Naseer in the implementation and execution of judgment debtors fraudulent
transfer schemes.

Accordingly, Defendants knowingly induced, participated and assisted in actively

defrauding Bashir and Naseer’s judgment creditor Sheikh through the implementation

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and execution of Bashir and Naseer’s fraudulent transfer schemes in order to assist
debtors in their efforts to delay, hinder or defraud his creditors.

Defendants Choudhri, Chaus and Rafiq knew that after the assets of the debtors Bashir
and Naseer are transferred, the debtors will become insolvent and their remaining assets
will not be able to payoff the judgment that was entered in favor of the Plaintiff Sheikh.
The course of conduct set forth above constitutes aiding and abetting a fraud on the
Plaintiff, which proximately caused harm and damage to Plaintiff Sheikh in the amount
of debtors assets that were fraudulently transferred. Accordingly, Defendants Choudhri,
Chaus and Rafiq are jointly and severally liable to Plaintiff for the harm and damage
caused by their aiding and abetting Bashir and Rafiq in the fraud committed upon Sheikh
by selling, shifting or transferring assets which could have been utilized by Sheikh to
recoup on a judgment entered by the Court.

WHEREFORE Plaintiff prays that the Court enter a judgment against Choudhri, Chaus
and Rafiq for the full amount of judgment that was entered against Bashir and Naseer for
$1,535,910 and $257,000.00 respectively and spread them against the above named
defendants.

Any other relief that this Court deems is just and equitable.

Count XVIII: Against Amjad Chaudry & BCA for Avoidance of Actually
Fraudulent Transfer

For Count XVIII of its verified Complaint, Sheikh incorporates the allegations contained
in the preceding paragraphs 1 through 136 as if part and parcel of this Count, and further
states as follows:

Amjad Chaudry received $120,000.00 from debtor Bashir and both acquired a

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grocery/liquor store in Wheeling. Under the arrangement worked out between Bashir and
Arshad, the business will remain under the name of Amjad, but profits will be split
equally between both principals.

246- This Fraudulent Transfer was made with the actual intent to hinder, delay or defraud
Plaintiff.

247- These transfers made the debtors including the transferor Bashir insolvent and unable to
pay the debts he owed.

248- Transfer was made when Plaintiff had filed a lawsuit against Bashir and a Court decision
was expected or had been entered against the debtors and the debtors intended to put their
assets out of reach to the Plaintiff.

249- The transfers were concealed and were kept a close secret by Bashir, and Arshad. All
documents for the corporation were prepared by Chaus, who created a brand new
corporation for such purpose.

250- Business is under Amjad’s name whereas Bashir controls the business.

251- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff

and against Bashir, BCA and Amjad thus:

avoiding the Fraudulent Transfer of this liquor and grocery store.

preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

awarding Plaintiff a money judgment against Arshad and Bashir for $120,000.00, and

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granting all other relief which this Court deems is just and proper in the premises.
Count XIX: Against Amjad & BCA for Avoidance of Constructively Fraudulent
Transfers

252- ‘For Count XIX of its verified Complaint, Plaintiff incorporates the allegations contained

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in the preceding paragraphs 1 through 136, and further states as follows.

Bashir invested upwards of $120,000.00 to purchase the liquor grocery store and Arshad
was instrumental in helping him set up this business. Both secured the help of Chaus in
organizing the corporate set up under which both concealed the ownership of the
business.

The Constructively Fraudulent Transferring cash by Bashir to Arshad and purchasing the
liquor store was made without the transferor receiving a reasonably equivalent value in
exchange while the transferor was engaged or was about to engage in a business or
transaction for which its remaining assets were unreasonably small in relation to its
business or the transaction.

Each of the Constructively Fraudulent Transfer was made without the transferor
receiving a reasonably equivalent value in exchange and the transferor intended to incur,
or reasonably should have believed, that the transferor would incur debts beyond the
transferor’s ability to pay as the debts became due. Transfers were made to an old friend
Amjad.

WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
Amjad, BCA and Bashir and thus:

avoiding the Constructively Fraudulent Transfers of making $120,000.00 in cash to
purchase the Grocery store at 326 West Liberty Street in Wheaton, Illinois.

preserving the avoided Constructively Fraudulent Transfers for Plaintiff’s benefit;
awarding Plaintiff a money judgment against Amjad & BCA in the full amount of the
Constructively Fraudulent Transfers or a minimum of $120,000.00, plus pre-judgment

interest, and costs of the

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proceedings, proceedings,
D: and granting all other relief which this Court deems is just and proper in the premises.
257- It is also prayed that the Judgments in the full amount of $1,535,000.00 and for
$257,000.00 for fraudulent transfers be spread against any designated entity in whose
name Zahdan Ahmad transfers the title to the 415 S. Pulaski and 3635 W. Armitage

Avenue properties.

/S/ Zafar Sheikh
Zafar Sheikh

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VERIFICATION.

I, Zafar Sheikh, the Plaintiff in this case do hereby certify under oath and under
the penalty of perjury and in accordance with the laws of the United States that I have
read the attached complaint and further that the foregoing allegations, events and
circumstances described herein this complaint are true and correct to the best of my

knowledge and belief. (28 U.S. Code § 1746).

1S / Zafar Sheikh February 1, 2024.

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